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Ann-Elizabeth Ostrager (pro hac vice application pending)
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Attorney for Defendant Catherine Coley

                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ARIZONA

Ryan Cox, individually and on behalf       )          Case No.: 21-cv-08197-SMB
of all others similarly situated;          )
                                           )          NOTICE OF LIMITED SPECIAL
                         Plaintiff,        )          APPEARANCE
                                           )
                  v.                       )
                                           )
                                           )
CoinMarketCap OpCo, LLC; Binance           )
Capital Management Co., Ltd. d/b/a         )
Binance and Binance.com; BAM               )
Trading Services Inc. d/b/a                )
                                           )
Binance.US; Changpeng Zhao;                )
Catherine Coley; Yi He; Ted Lin; and       )
Does I-X;                                  )

                         Defendants.

              Ann-Elizabeth Ostrager, of the law firm Sullivan & Cromwell LLP, gives

notice of her limited special appearance in the above-captioned matter, as an attorney of

record for Defendant Catherine Coley. This special appearance is for the limited purpose

of moving to dismiss all claims against Ms. Coley, on the basis that Plaintiff has failed to

validly serve Ms. Coley with the summons and complaint in this matter. By entering this

limited special appearance, Ms. Coley does not waive any defenses in this matter, nor does

she accede to the jurisdiction of this Court.



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December 15, 2021


                                          /s/ Ann-Elizabeth Ostrager
                                          Ann-Elizabeth Ostrager
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                                 Certificate of Service

               I hereby certify that on December 15, 2021, I electronically submitted the
foregoing document to the Clerk’s Office using the CM/ECF system for filing and
transmittal of a Notice of Electronic Filing to the CM/ECF registrants on record.



December 15, 2021


                                                 /s/ Ann-Elizabeth Ostrager
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                                                 Attorney for Defendant Catherine Coley




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